Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 1 of 8 PAGEID #: 1



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

Heinrich Production LLC                        :
840 Swartz Road                                :
Reno, OH, 45773,                               :
                                               :
              Plaintiff,                       :   Case No. ____________________
                                               :
   v.                                          :
                                               :
American Arbitration Association               :   Judge _______________________
120 Broadway Floor 21                          :
New York, NY, 10271                            :
                                               :
        and                                    :
                                               :
Noble Zickefoose                               :
167 North Hills Drive                          :
Parkersburg, WV 26104                          :
                                               :
        and                                    :
                                               :
Terry Clark                                    :
202 Glengarry Drive                            :
Corapolis, PA 15108                            :
                                               :
              Defendants.                      :


        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Now comes Plaintiff, Heinrich Production LLC, by and through its undersigned

counsel, and for its complaint against defendants American Arbitration Association,

Noble Zickefoose, and Terry Clark hereby states:

                       PARTIES, JURISDICTION, AND VENUE

        1.    Plaintiff, Heinrich Production LLC (“Heinrich”), is an Ohio limited

liability company with its principal place of business located in Reno, Ohio.      All

members of Heinrich are citizens and residents of Ohio.


                                           1
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 2 of 8 PAGEID #: 2



         2.     Defendant Noble Zickefoose (“Zickefoose”) is an individual and resident

of Parkersburg, West Virginia.

         3.     Defendant Terry Clark (“Clark”) is an individual and resident of Corapolis,

Pennsylvania.

         4.     Defendant American Arbitration Association (“AAA”) is a not-for-profit

organization organized under the laws of the state of New York, with its headquarters and

principal place of business in the state of New York. AAA provides alternative dispute

resolution services to individuals and organizations who wish to resolve conflicts out of

court.

         5.     This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §1332 because this dispute is between citizens of different states and the

amount in controversy, exclusive of interest and costs, exceeds $75,000.00

         6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in

Washington County, Ohio, which is located within this judicial district and division.

                          FACTS COMMON TO ALL CLAIMS

         7.     Plaintiff Heinrich is a 50% member in non-party Horizon Partners

Investments LLC (“Horizon”), an Ohio limited liability company. Non-party John Jack

is the other 50% member in Horizon.

         8.     The members of Horizon (Heinrich and Jack) entered into the Member-

Managed Operating Agreement of Horizon Partners Investments LLC (“Horizon

Operating Agreement”) in April 2015, a true and accurate copy of which is attached

hereto as Exhibit A. Section 9.13 of the Horizon Operating Agreement provides that

“[a]ny and all disputes or disagreements arising among the Members [i.e., Jack and
                                             2
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 3 of 8 PAGEID #: 3



Heinrich] with respect to this agreement, the Company [i.e., Horizon] or its business,

which the Members [i.e., Jack and Heinrich] are not able to amicably resolve by

themselves” shall be resolved by binding arbitration.

       9.      Horizon is a 50% member in non-party Tri State Disposal LLC (“Tri

State”), an Ohio limited liability company. The other members in Tri State are Jack

(20%), Defendant Zickefoose (20%) and Defendant Clark (10%).

       10.     The members of Tri State (i.e., Horizon, Jack, Zickefoose, and Clark)

entered into the Member-Managed Operating Agreement of Tri State Disposal LLC (“Tri

State Operating Agreement”) on March 4, 2015, a true and accurate copy of which is

attached hereto as Exhibit B. Section 10.19, of the of the Tri State Operating Agreement

provides that “[a]ny and all disputes or disagreements arising among the Members [i.e.,

Horizon, Jack, Zickefoose, and Clark] with respect to this agreement, the Company [i.e.,

Tri State] or its business, which the Members [i.e., Horizon, Jack, Zickefoose, and Clark]

are not able to amicably resolve by themselves” shall be resolved by binding arbitration.

       11.     Heinrich is not and has never been a member of Tri State, and as such,

Heinrich was not a party to and never executed the Tri State Operating Agreement.

       12.     Tri State is itself a 50% owner of in non-party Water Energy Services,

LLC (“WES”), a Pennsylvania limited liability company.

       13.     WES was formed for purposes of constructing and operating a facility to

dispose of waste water created as a by-product of oil and gas production in Southeastern

Ohio and surrounding areas.

       14.     Disputes arose between the members of the above entities, resulting in

ongoing litigation in multiple courts.    Relevant here are two lawsuits: (1) Heinrich



                                            3
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 4 of 8 PAGEID #: 4



Production, LLC v. John Jack, et al., Case No. 16-OT-142 in the Washington County,

Ohio, Court of Common Pleas (the “Jack Lawsuit”); and (2) TCFII Westfall, LLC v.

WES, et al., Case No. 16-FR-161 in the Washington County, Ohio, Court of Common

Pleas (the “Receivership”).

       15.     Heinrich initiated the Jack Lawsuit in May 2016 asserting claims against

Jack for his breach of contract and breach of fiduciary duties in connection with his

conduct as CEO of Water Energy Services, LLC (“WES”) and as a Horizon member. On

August 16, 2016, Judge Burnworth of the Washington County Ohio Common Pleas Court

determined that the claims raised between Heinrich and Jack in the Jack Lawsuit were

arbitrable under the Horizon Operating Agreement, and ordered a stay of the case so

Heinrich and Jack could arbitrate their disputes.

       16.     On September 2, 2016, Heinrich initiated arbitration of its claims against

Jack with the AAA (the “Arbitration”). Retired Judge Mark P. Painter was appointed the

Arbitrator. A Final Hearing in the Arbitration is currently scheduled to occur in Marietta,

Ohio, on March 27, 2017.

       17.     While Jack was the only named respondent in the Arbitration, Zickefoose

and Clark, unilaterally and without approval, intervened in the Arbitration as

Counterclaimants, and asserted several Counterclaims against Heinrich.              These

counterclaims are set forth in the December 30, 2016 Amended Counterclaims of

Counterclaimants, John Jack, Noble Zickefoose and Terry Clark (“Zickefoose and

Clark’s Counterclaims”).      Because the Horizon Operating Agreement contains a

provision that the arbitration is to remain confidential, out of an abundance of caution,




                                             4
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 5 of 8 PAGEID #: 5



Plaintiff is not attaching a copy of Zickefoose and Clark’s Counterclaims hereto.

Plaintiff will file a copy thereof with the Court under seal if necessary.

       18.     Through their counterclaims, Zickefoose and Clark seek in excess of $3

million in damages against Heinrich in the Arbitration.

       19.     The Receivership litigation was also filed in Washington County, Ohio.

Approximately two dozen litigants other than WES were named as parties in the

Receivership (including Jack, Heinrich, Zickefoose, and Clark). On July 29, 2016, the

Court appointed a receiver to sell the assets of the WES to the highest bidder at auction.

Those assets were sold at auction on December 6, 2016.

       20.     As the Receivership litigation progressed, the parties filed claims and

cross-claims against each other. Significantly (and prior to raising any counterclaims in

the Arbitration), Jack, Zickefoose and Clark filed cross-claims against Heinrich (and

others) for abuse of process, breach of fiduciary duty, breach of contract and civil

conspiracy. Tri State itself also filed a cross-claim against Heinrich in the Receivership.

Zickefoose and Clark’s Counterclaims in the Arbitration are substantively duplicative of

cross claims they and Tri State had previously filed against Heinrich in the Receivership.

       21.     On February 2, 2016, Heinrich moved for summary judgment in the

Arbitration seeking dismissal of all counterclaims asserted by Zickefoose and Clark

against Heinrich on the basis that any claim raised by Zickefoose and Clark against

Heinrich were not arbitrable because they did not fall within the arbitration provisions of

either the Horizon Operating Agreement (which applied solely to claims between Jack

and Heinrich) or the Tri State Operating Agreement (which applied solely to claims

between Jack, Zickefoose, Clark, and Horizon).



                                              5
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 6 of 8 PAGEID #: 6



       22.     On February 22, 2017, the Arbitrator issued a two sentence decision

denying Heinrich’s motion for summary judgment. Specifically, the Arbitrator stated:

“Heinrich’s summary judgment motion is overruled. The claims and counterclaims are so

closely related and that they should be heard together.” Thus, the Arbitrator intends to

proceed with a final hearing in the arbitration of Zickefoose and Clark’s claims against

Heinrich, despite Heinrich’s objection to the arbitration of such disputes, and despite the

lack of any applicable arbitration clause requiring Heinrich to arbitrate any such disputes.

       23.     The counterclaims brought by Zickefoose and Clark against Heinrich in

the Arbitration are not arbitrable because there is no agreement to arbitrate any claims

between Heinrich, on the one hand, and Zickefoose and/or Clark on the other. In short,

Heinrich is not a party to any arbitration clause with either Zickefoose or Clark, and

cannot be compelled to arbitrate any disputes with Zickefoose or Clark.

       24.     Moreover, Zickefoose and Clark have waived any right to arbitrate their

counterclaims brought against Heinrich in the Arbitration because they have filed the

same and/or duplicate claims against Heinrich in the Receivership. Zickefoose and Clark

filed their claims in the Receivership seven weeks prior to their attempt to assert those

same claims as counterclaims in the Arbitration.

                        FIRST CLAIM – DECLARATORY JUDGMENT

       25.     Heinrich incorporates by reference each and every allegation contained

within the preceding paragraphs as if fully restated herein.

       26.      A real and justiciable controversy exists between the parties as to the

arbitrability of the counterclaims brought by Zickefoose and Clark against Heinrich in the

Arbitration.



                                             6
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 7 of 8 PAGEID #: 7



        27.     Speedy relief is necessary to preserve Heinrich’s defense that the

Zickefoose and Clark counterclaims are not arbitrable and that the AAA has no

jurisdiction over those claims, which defense may otherwise by impaired or lost if

Heinrich is forced to “litigate” those claims in the Arbitration. The Final Hearing is

currently set to begin on March 27, 2017.

        28.     Heinrich is entitled to a judgment declaring that the Zickefoose and Clark

counterclaims brought against Heinrich in the Arbitration are not arbitrable including on the

grounds that: (1) there is no agreement to arbitrate any claims between Heinrich, on the

one hand, and Zickefoose and/or Clark on the other; and/or (2) Zickefoose and Clark

have waived any right to arbitrate their counterclaims brought against Heinrich because

they have filed the same and/or duplicate claims against Heinrich in the Receivership.

                               SECOND CLAIM – INJUNCTIVE RELIEF

        29.      Heinrich incorporates by reference each and every allegation contained

within the preceding paragraphs as if fully restated herein.

        30.     Heinrich is entitled to a temporary restraining order and/or preliminary

injunction ordering that the AAA not proceed with the Arbitration’s Final Hearing until

this Court has rendered a determination on the arbitrability of Zickefoose and Clark’s

counterclaims against Heinrich.

        31.     Heinrich is entitled to a permanent injunction precluding the AAA from

asserting jurisdiction over the counterclaims that Zickefoose and Clark have brought against

Heinrich in the Arbitration.

        32.     Heinrich does not have an adequate remedy at law to prevent the

Defendants from asserting and proceeding with the Zickefoose and Clark counterclaims

in the Arbitration.     An injunction will preserve Heinrich’s right to not have the

                                             7
Case: 2:17-cv-00170-ALM-TPK Doc #: 1 Filed: 02/27/17 Page: 8 of 8 PAGEID #: 8



Zickefoose and Clark counterclaims litigated in the Arbitration, which right will be lost if

those counterclaims are allowed to proceed in the Arbitration.

       33.      Neither a preliminary nor permanent injunction would cause substantial

harm to others.

       34.      The public interest would be served by issuing a preliminary and

permanent injunction.

       WHEREFORE, Plaintiff, Heinrich Production LLC, demands judgment against

Defendants AAA, Zickefoose, and Clark as follows:

             a) For declaratory relief described above;

             b) Preliminary and permanent injunctive relief as described above;

             c) For all and any other relief, whether legal or equitable, that this
                Court deems just and proper.


                                              Respectfully submitted,

                                              /s/ James E. Arnold
                                              James E. Arnold (0037712) (Trial Counsel)
                                              Gerhardt A. Gosnell II (0064919)
                                              Gerrod L. Bede (0088075)

                                              JAMES E. ARNOLD & ASSOCIATES, LPA
                                              115 West Main Street, Fourth Floor
                                              Columbus, Ohio 43215
                                              Telephone:   (614) 460-1600
                                              Facsimile:   (614) 469-1066
                                              Email:       jarnold@arnlaw.com
                                                           ggosnell@arnlaw.com
                                                           gbede@arnlaw.com

                                              Counsel for Plaintiff Heinrich Production
                                              LLC




                                             8
